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  CIT AND COUNTY OF DENVER, DENVER                                         DATE FILED: August 17, 2015 4:51 PM
                                                                           FILING ID: BA4FAE0D1ED01
  DISTRICT COURT
                                                                           CASE NUMBER: 2015CV32932
  1437 Bannock Street
  Denver, CO 80202


  Plaintiff: MARK VOGLER

  v.
                                                                        COURT USE ONLY
  Defendants: STEPHEN NALTY and LYFT, INC.
  Attorney for Plaintiff
                                                                Case Number:
  Michael Nimmo
  HILLYARD, WAHLBERG, KUDLA, SLOANE                             Courtroom:
  & WOODRUFF, LLP
  4601 DTC Boulevard, Suite 950
  Denver, CO 80237
  Telephone: 303/ 571-5302
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  Atty. Reg. 36947
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                               COMPLAINT AND JURY DEMAND


         The Plaintiff herein, by and through his attorney Michael Nimmo of the law offices of
  HILLYARD, WAHLBERG, KUDLA, SLOANE & WOODRUFF, LLP, file this Complaint and
  Jury Demand and states unto the Court as follows:


                            PARTIES, JURISDICTION AND VENUE

       1.   Plaintiff Mark Vogler was in Denver, Colorado when he was injured.

       2.   Upon information and belief, at all times material hereto, Defendant, Stephen Nalty
            was a Colorado resident.

       3.   Upon information and belief, at all times material hereto, Defendant Stephen Nalty was
            driving his vehicle as an employee and or agent of Defendant Lyft, Inc.

       4.   Defendant Lyft, Inc., is a foreign corporation, registered to do business in the state of
            Colorado and was conducting business in Colorado at all times material hereto.




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    5.     The tort occurred in Denver, Colorado and therefore venue is proper pursuant to
           C.R.C.P. 98(c), in Denver County.


                                  GENERAL ALLEGATIONS

    6. On February 8, 2015, upon information and belief, Defendant Nalty was working as an
       agent and or employee for Defendant Lyft, Inc. as a driver.

    7. On February 8, 2015, Defendant Nalty, was driving his car with passengers on behalf of
       Lyft, Inc.

    8. On February 8, 2015, at approximately 5:25 p.m. Mr. Vogler was walking southeast in a
       crosswalk on Lawrence Street at the intersection of 15th Street in Denver, Colorado.

    9. On February 8, 2015, Defendant Nalty was driving his vehicle with Lyft passengers
       northeast on Lawrence Street at the intersection of 15th Street in Denver, Colorado.

    10. On February 8, 2015, at approximately 5:25 p.m., Defendant Nalty failed to stop at the
        red traffic signal for northeast-bound traffic on Lawrence Street at the intersection of 15th
        Street.

    11. On February 8, 2015, at approximately 5:25 p.m., Defendant Nalty failed to stop at the
        red traffic signal and struck Mr. Vogler with his vehicle, when Mr. Vogler was crossing
        Lawrence Street in a crosswalk in a northwest direction with a walk signal.

    12. Defendant Nalty admitted at the scene of the collision that he tried to go around a car that
        was not turning at the red light and hit a pedestrian.

    13. On February 8, 2015, at approximately 5:25 p.m., Mr. Vogler was injured and suffered
        damages as a direct and proximate result of the actions of Defendant Nalty.

    14. Defendant Lyft, Inc. is liable for the conduct of Defendant Nalty.

    15. Mr. Vogler was not comparatively negligent on February 8, 2015, when he was struck by
        Defendant Nalty’s vehicle.

         WHEREFORE, Plaintiff prays for further relief as set forth below.


                                  FIRST CLAIM FOR RELIEF
                                         Negligence

    16. Plaintiff incorporates paragraphs 1 through 15 as fully set forth herein.

                                                                                                    2

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    17. Defendant Nalty had a duty to drive his car carefully and reasonably on February 8, 2015.

    18. Defendant Nalty had a duty to stop at the red traffic signal on Lawrence Street on
        February 8, 2015.

    19. Defendant Nalty had a duty to yield to Mr. Vogler while in a crosswalk with a walk
        signal on February 8, 2015.

    20. Defendant Nalty had a duty to not strike Mr. Vogler with his vehicle.

    21. Defendant Nalty breached his duty of care by failing to stop at the red traffic signal on
        Lawrence Street at 5:25 p.m. on February 8, 2015.

    22. Defendant Nalty breached his duty by failing to yield the right of way to Mr. Vogler
        while he was in a crosswalk on Lawrence Street with a walk signal at 5:25 p.m. on
        February 8, 2015.

    23. Defendant Nalty breached his duty of care by striking Mr. Vogler with his vehicle on
        February 8, 2015, at approximately 5:25 p.m.

    24. Defendant Nalty breached his duty of care by driving unreasonably and carelessly on
        February 8, 2015, at approximately 5:25 p.m. on Lawrence Street at the intersection of
        15th Street in Denver, Colorado.

    25. As a direct and proximate result of the negligent acts and/or failures to act of Defendant
        Nalty as described above, Plaintiff Mark Vogler suffered severe injuries and damages.

    26. As a further direct and proximate result of the negligent acts and/or failures to act of
        Defendant Nalty as described above, Plaintiff Mark Vogler has incurred past and future
        damages including but not limited to past and future medical expenses, lost wages, pain
        and suffering, permanent physical impairment, a loss of enjoyment of life, and emotional
        stress.

    27. Defendant Lyft, Inc. is the principal and/or employer of Defendant Nalty and is therefore
        liable for the negligence of Defendant Nalty.

       WHEREFORE, Plaintiff prays for further relief as set forth below.


                                SECOND CLAIM FOR RELIEF
                                     Negligence Per Se

    28. Plaintiff incorporates paragraphs 1 through 27 as fully set forth herein.

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     29. On February 8, 2015, the State of Colorado had statutes, ordinances, codes, and laws
         regulating operation of a motor vehicle.

     30. On or about February 8, 2015, Defendant Nalty drove carelessly by failing to stop at a red
         traffic signal and struck Mr. Vogler while he was in a crosswalk with a walk signal in
         violation of C.R.S. § 14-4-1402(2)(B).

     31. Plaintiff is a member of the class which C.R.S. § 14-4-1402(2)(B) seeks to protect.

     32. The injuries which Plaintiff suffered are those which C.R.S. § 14-4-1402(2)(B) seeks to
         prevent.

     33. As a direct and proximate result of Defendant’s violation of C.R.S. § 14-4-1402(2)(B)
         Plaintiff suffered injuries and damages as previously set forth herein.

     34. Defendant Nalty’s conduct amounts to Negligence Per Se and Plaintiff sustained injuries
         and damages as a result of Defendant Nalty’s Negligence Per Se conduct.

     35. Defendant Nalty is liable to Plaintiff for his Negligence Per Se conduct.

     36. Defendant Lyft, Inc., as principal and/or employer of Defendant Nalty, is liable to
         Plaintiff for Defendant Nalty’s Negligence per se conduct.

          WHEREFORE, Plaintiff prays for judgment against Defendant Nalty and Defendant
  Lyft, Inc. for money damages, including, but not limited to, past and future pain and suffering,
  past and future emotional distress, past and future loss of enjoyment of life, past and future
  economic losses, past and future non-economic losses, past and future permanent physical
  impairment, past and future medical expenses, past and future lost wages, pre-judgment interest
  from the date the action accrued (date of the collision) as set forth in C.R.S. § 13-21-101, costs,
  fees and further relief as permitted by law.


         DATED: August 17, 2015



                                        Respectfully submitted,


                                        HILLYARD, WAHLBERG, KUDLA, SLOANE
                                        & WOODRUFF, LLP



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                                         /s/ Michael Nimmo
                                         Michael Nimmo, #36947
                                         Attorney for Plaintiff
    Plaintiff:
    Mark Vogler
    225 Edgewood Court
    Pittsboro, IN 46167


           In accordance with C.R.C.P. 121 '1-26(9) a printed copy of this document with signatures is
    being maintained by the filing party and will be made available for inspection by other parties or the
    Court upon request.




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